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JN THE UNITED STATES DlsTRlCT CoURT § 1 ,
FoR THE WESTERN DIsTRlCT oF TENNESSEE FI'ED Bt’ 4

 

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W.I§. GF T§‘~d, tjt§M‘§l‘HlS
v. Cr. No. 05-20183-Ma

FREDERICK GWYNN
ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

Attorney Pam Hamrin, on behalf of Attomey Ned Germany, requested a two Weeks’
continuance of this matter as Attorney Germany may need to explore the necessity for the defendant
to undergo a mental examination, and Attorney Hamrin was not prepared to continue With the
arraignment until that issue is resolved. Pursuant to the Speedy Trial Act, as Set out in 18 U.S.C. §
316l(h)(8)(B)(iv), a defendant may be granted a period of excludable delay to allow continuity of
counsel and effective preparation

IT IS THEREFORE ORDERED that the time period of June l, 2005 through June 15, 2005
be excluded from the time limits imposed by the Speedy Tr'ial Act for trial of this case, to allow the
defendant continuity of counsel and effective preparation

ARRAIGNMENT IS RESET TO WEDNESDAY, June 15, 2005 at 9:30 a.m. BEFORE

57ng C;AM..)

U.S. Magistrate Judge

Date: w 02# 206{
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MAGISTRATE JUDGE TU M. PHAM.

This document entered on the docket sheet in compliance

with Rule 55 and/or 32(b) FRch on fe / l'_q ’O<

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This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20183 Was distributed by faX, mail, or direct printing on
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PDA

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Honorable Samuel Mays
US DISTRICT COURT

